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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                            )
In re:                                                      )       Chapter 11
                                                            )
SEABOARD HOTEL MEMBER                                       )       Case No. 15-12510 (LSS) 1
ASSOCIATES, LLC, et al.,                                    )
                                                            )
          Post-Effective Date Plan Debtors. 2               )       Objection Deadline: December 18, 2017 at 4:00 p.m.
                                                            )       Hearing Date: January 4, 2018 at 11:00 a.m.

              CERTIFICATE OF NO OBJECTION REGARDING DOCKET NO. 21

         The undersigned counsel to META Advisors LLC, in its capacity as Wind-Down

Administrator and Investor Trustee (each, a “Distribution Agent”, and together, the “Distribution

Agents”), hereby certifies the following:

         1.        On December 3, 2017, the Distribution Agents filed the Joint Motion of Wind-

Down Administrator and Investor Trustee for an Order (I) Establishing a Deadline to File

Proofs of Equity Interest In Investor Trust Debtors and Approving the Form and Manner of

Notice Thereof; and (II) Extending the Claims Objection Deadline to May 4, 2018 [Docket No.

21] (the “Motion”) with the United States Bankruptcy Court for the District of Delaware (the

“Court”).


1
         These cases originally were jointly administered under the caption In re Newbury Common Associates, LLC, et al.,
         Case No. 15-15207 (LSS). On June 29, 2017, the Court entered an Order (A) Dismissing the Newbury Common
         Associates, LLC and Newbury Common Member Associates, LLC Chapter 11 Cases and (B) Granting Related Relief
         (Docket No. 1872) (the “Newbury Dismissal Order”) pursuant to which Seaboard Hotel Member Associates, LLC
         became the lead debtor in the remaining chapter 11 cases (collectively, the “Plan Debtors”), and parties-in-interest were
         directed to consult the docket of its chapter 11 case (Case No. 15-12510 (LSS)) for docket entries for the Plan Debtors
         made on and after June 29, 2017. Newbury Dismissal Order ¶ 7.
2
         The Plan Debtors in these cases are: 600 Summer Street Stamford Associates, LLC; Seaboard Hotel Member
         Associates, LLC; Seaboard Hotel LTS Member Associates, LLC; Park Square West Member Associates, LLC;
         Seaboard Residential, LLC; One Atlantic Member Associates, LLC; 88 Hamilton Avenue Member Associates, LLC;
         316 Courtland Avenue Associates, LLC; 300 Main Management, Inc.; 300 Main Street Member Associates, LC;
         PSWMA I, LLC; PSWMA II, LLC; Tag Forest, LLC; Century Plaza Investor Associates, LLC; Seaboard Hotel
         Associates, LLC; Seaboard Hotel LTS Associates, LLC; Park Square West Associates, LLC; Clocktower Close
         Associates, LLC; One Atlantic Investor Associates, LLC; 88 Hamilton Avenue Associates, LLC; 220 Elm Street I,
         LLC; 300 Main Street Associates, LLC; and 220 Elm Street II, LLC.


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       2.      Pursuant to the Notice of the Motion, responses were to be filed and served

no later than December 18, 2017 at 4:00 p.m. The undersigned counsel has not received any

answers, objections or other responsive pleadings to the Motion.

       3.      Therefore, I respectfully request that the Court enter the proposed form of

Order attached to the Motion at its earliest convenience.



Dated: January 2, 2018                         /s/ Raymond H. Lemisch
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                                               -and-

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                                               Co-Counsel to the Wind-Down Administrator and
                                               the Investor Trustee




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